  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA               )
                                       )          CRIMINAL ACTION NO.
        v.                             )             2:21cr49-MHT
                                       )                  (WO)
THOMAS MICHAEL SISK                    )

                      FORFEITURE MONEY JUDGMENT

    This       cause     comes     before          the    court    on   the

government’s        motion   for   a       forfeiture     money   judgment

against defendant Thomas Michael Sisk in the amount of

$ 13,000.00.        Defendant Sisk has consented to the entry

of a forfeiture money judgment in this amount.

    Being      fully    advised    of       the    relevant   facts,     the

court hereby finds that defendant Thomas Michael Sisk

obtained       at    least     $ 13,000.00           in   proceeds      from

conspiracy to which he pled guilty.

    Accordingly, it is ORDERED, ADJUDGED, and DECREED

that,    for   good    cause     shown,      the    government’s     motion

(Doc. 333) is granted.

    It is further ORDERED that, pursuant to 18 U.S.C.

§ 982(a)(2) and Rule 32.2(b)(2) of the Federal Rules of
Criminal Procedure, defendant Thomas Michael Sisk shall

be held liable for a forfeiture money judgment in the

amount of $ 13,000.00.

    It    is   further    ORDERED        that,     upon   entry    of    this

order, it shall become a final order of forfeiture as

to the defendant.

    The     court   retains      jurisdiction         to       address    any

third-party     claim     that    may         be   asserted       in     these

proceedings, to enter any further order necessary for

the forfeiture and disposition of such property, and to

order    any   substitute    assets       forfeited       to    the    United

States    up   to   the     amount       of    the   forfeiture          money

judgment.

    DONE, this the 11th day of May, 2022.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE




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